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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------------------------------------x
FRED SPAGNOLA, individually and on behalf of                                          :
all those similarly situated,                                                        :
                                                                                     :
                                          Plaintiff,                                 :
                                                                                     :
                     -against-                                                       :
                                                                                     :
THE CHUBB CORPORATION, FEDERAL                                                       :    06 Civ. 9960 (HB)
INSURANCE COMPANY, GREAT NORTHERN                                                     :
INSURANCE COMPANY, JOHN D. FINNEGAN                                                   :
and THOMAS F. MOTAMED,                                                                :
                                                                                      :
                                           Defendants.                                :
--------------------------------------------------------------------------------------x   OPINION & ORDER
JONATHAN A. BERNSTEIN, individually and on                                           :
behalf of all those similarly situated,                                              :
                                                                                     :
                                          Plaintiff,                                 :
                                                                                     :
                     -against-                                                       :
                                                                                     :
THE CHUBB CORPORATION, FEDERAL                                                       :    08 Civ. 193 (HB)
INSURANCE COMPANY, GREAT NORTHERN                                                     :
INSURANCE COMPANY, JOHN D. FINNEGAN                                                   :
and THOMAS F. MOTAMED,                                                                :
                                                                                      :
                                           Defendants.                                :
--------------------------------------------------------------------------------------x
Hon. HAROLD BAER, JR., United States District Judge:
      The Plaintiffs in these putative class actions – Fred Spagnola (“Spagnola”) and Jonathan
A. Bernstein (“Bernstein”) (collectively, “Plaintiffs”) – seek damages and injunctive relief from
The Chubb Corporation (“Chubb”), Federal Insurance Company (“FIC”), Great Northern
Insurance Company (“Great Northern”) (collectively, “Defendants”)1 based on alleged wrongful
conduct related to Plaintiffs’ and the putative class’s homeowners’ insurance policies and
following a remand from the Court of Appeals. Before the Court are Defendants’ Motion to
Dismiss, Defendants’ Motion to Deny Class Certification and Plaintiffs’ Motion to Strike Certain
Portions of Defendants’ Motion to Deny Class Certification. For the reasons set forth below,


1
 Plaintiffs both initially also sued John D. Finnegan, who is President, CEO and Director of Chubb and the Chairman
of the Board and CEO of FIC, and Thomas F. Motamed, Vice Chairman and COO of Chubb and President of FIC (the
“Individual Defendants”). However, by Notice of Voluntary Dismissal dated December 11, 2009 and Stipulation
dated December 30, 2009, respectively, Bernstein and Spagnola have agreed to dismiss their claims against the
Individual Defendants.
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Defendants’ Motion to Dismiss is granted in part and denied in part, Defendants’ Motion to Deny
Class Certification is granted, and Plaintiffs’ Motion to Strike is denied.2

                                          I FACTUAL BACKGROUND3
           Spagnola and his wife purchased a Masterpiece homeowner’s insurance policy (the
“Policy”) issued by Great Northern for a one-year term in 2001. The Masterpiece Policy offered
three different types of coverage: (1) an “extended replacement cost” policy, in which the insurer
pays the cost of reconstruction even if the cost exceeds the amount of the insured’s coverage, (2) a
“verified replacement cost” policy, in which the insurer pays the reconstruction cost only up to the
specified amount of coverage and (3) a “conditional replacement cost” policy, in which the insurer
pays only a portion of the reconstruction costs that cannot exceed the amount of coverage.
Spagnola’s Policy was an extended replacement cost policy and expressly stated that Great
Northern would pay the costs of reconstruction “even if this amount is greater than the amount of
coverage shown in [Spagnola’s] policy.” The amount of coverage was listed in the Policy’s
Coverage Summary and during each annual policy period, the Summary indicated that the
coverage amount “will be increased daily to reflect the current effect of inflation. At the time of a
covered loss, your amount of house coverage will include any increase in the United States
Consumer Price Index from the beginning of the policy period.” The coverage amount could be
changed “when appraisals are conducted and when the policy is renewed, to reflect current costs
and values.” The term “current costs and values” is not further defined in the Policy. For five
consecutive years, Spagnola renewed his Policy and paid each year’s increased premium.
           Bernstein purchased an extended replacement cost homeowners’ policy in 1988 for his
Park Avenue apartment and renewed it 17 times until 2006. He also purchased an extended
replacement cost policy for a house he built in East Hampton in 1999. The terms of Bernstein’s
homeowner’s policies were identical to those contained in Spagnola’s Policy. Upon switching
carriers in 2006,4 Bernstein learned that both properties were underinsured.


2
  The class certification motion was fully submitted on December 3, 2009 and oral argument was held on that day.
The Motion to Dismiss and Motion to Strike were fully submitted on December 24, 2009. Although the parties have
requested oral argument on the latter two motions, upon a review of the motion papers, the Court has determined that
oral argument will not be necessary and will proceed to resolve the motions on the papers.
3
 The facts that underlie Spagnola’s Complaint were discussed in detail in this Court’s March 27, 2007 Opinion and
Order (“Spagnola I”), 2007 WL 927198, at *1 (S.D.N.Y. Mar. 27, 2007), and will be repeated here only to the extent
necessary to resolve the instant motions. Bernstein’s Complaint, filed January 9, 2008, is substantially identical to
Spagnola’s Complaint; any differences, to the extent relevant, will be discussed herein.
4
    Bernstein’s reasons for switching insurance carriers are unrelated to the instant lawsuits.

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        Great Northern, the insurer with which both Spagnola and Bernstein contracted to obtain
their respective Policies, is one of several insurance companies within the “Chubb Group of
Insurance Companies” (the “Chubb Group”). The Chubb Corporation is the parent corporation of
each of the insurers in the Chubb Group. FIC is the largest of the insurance companies within the
Chubb Group and manages the other companies.
        Plaintiffs allege that the Chubb Corporation established the uniform contract language and
practices that were part and parcel of the Masterpiece Policies that form the basis of these actions
and provided “material assistance in the perpetration of the wrongs” complained of and that
“participation in the creation of the contracts and practices with respect to their implementation
make [ ] it a party to the policies between [Plaintiffs and Great Northern].” Plaintiffs allege that,
among other things, Chubb, FIC and Great Northern have a significant overlap in directors and
senior management and share a principal place of business, and that certain key documents and
agreements indicate that Chubb and its subsidiaries are sometimes referred to as a single entity.
Plaintiffs also allege that the cover letter that is transmitted to insureds with the Masterpiece
Policies is sent from Chubb, not Great Northern; that a coordinated marketing and advertising
scheme refers only to Chubb and not its insurance subsidiaries; and each Masterpiece Policy bears
the Chubb logo and directs insureds to make inquiries to Chubb at its place of business in New
Jersey or by email at “___@Chubb.com.”

                                      II. PROCEDURAL HISTORY
        Spagnola’s action was removed from New York Supreme Court, New York County to this
Court on October 19, 2006. Spagnola filed an amended complaint on November 30, 2006 and
subsequently filed yet another amended complaint on December 29, 2006 (the “First Amended
Federal Complaint”). The First Amended Federal Complaint alleged five separate causes of
action: (1) breach of contract;5 (2) violation of N.Y. Insurance Law § 3425; (3) violation of N.Y.
General Business Law § 349; (4) unjust enrichment and (5) injunctive relief. On January 19,
2007, Defendants moved to dismiss the First Amended Federal Complaint, arguing, among other
things, that none of Spagnola’s claims stated a cause of action upon which relief could be granted,
and that all claims against Defendants other than Great Northern should be dismissed because
Great Northern was the only party with which Spagnola had contracted. On March 27, 2007, this


5
  The breach of contract claim was based on three different premises: to wit, that Defendants improperly increased
coverage and premiums (1) without consent of the insured, (2) in excess of the Consumer Price Index (“CPI”), and (3)
in violation of N.Y. Insurance Law § 3425.

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Court granted Defendants’ motion in its entirety. Because the Court agreed that Spagnola’s causes
of action were unsustainable, it did not reach the alternative question of whether the Defendants
other than Great Northern should be dismissed.
       Spagnola appealed, but while that appeal was pending, his counsel filed a separate
complaint on behalf of Plaintiff Bernstein. As noted, the Bernstein Complaint is identical to the
Spagnola Complaint in all material respects, and alleges the same causes of action against the
same Defendants. The only differences between the Bernstein and Spagnola Complaints are the
years and amounts of coverage obtained in their respective extended replacement cost Masterpiece
Policies. Bernstein’s case was assigned to Judge Paul A. Crotty, but the parties stipulated to a stay
of that action pending the outcome of Spagnola’s appeal.
       On July 28, 2009, the U.S. Court of Appeals for the Second Circuit affirmed the dismissal
of Spagnola’s Complaint in all respects except one: relying on a recent decision of the Appellate
Division, the court found that Spagnola’s breach of contract claim would survive the motion to
dismiss, but only to the extent that it was based on the increase in coverage and premiums “in a
way that did not reflect current costs and values.” Spagnola v. Chubb Corp., 574 F.3d 64, 71-72
(2d Cir. 2009) (following Beller v. William Penn Life Ins. Co. of N.Y., 8 A.D.3d 310 (2d Dep’t
2004)). The Second Circuit also found that the voluntary payment doctrine – which “precludes a
plaintiff from recovering payments ‘made with full knowledge of the facts’ and with a ‘lack of
diligence’ in determining his contractual rights and obligations’” – did not bar Spagnola’s claim at
the motion to dismiss phase. Id. at 72-73. That is, while the court acknowledged that “the
voluntary payment doctrine may ultimately bar Spagnola’s breach of contract claim,” it
nonetheless held that “it is too early in this case to conclusively answer that question.” Id. at 73.
Accordingly, the Second Circuit remanded the Spagnola case for further proceedings on the
breach of contract claim insofar as it was premised on Defendants’ alleged failure to change
coverage according to “current costs and values.”
       After remand, the Bernstein action was reassigned from Judge Crotty to the undersigned,
and the actions were coordinated for the purposes of discovery, motion practice and trial. The
Court held a Rule 16 conference in both actions on October 30, 2009, entered a Pretrial
Scheduling Order and set a briefing schedule on any anticipated motions. Defendants filed their
Motion to Deny Class Certification on November 20, 2009 and filed their Motion to Dismiss on
November 30, 2009. Plaintiffs have moved to strike an affidavit that Defendants submitted in
support of their class certification motion, as well as certain portions of the motion papers


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themselves. Plaintiffs contend that those materials address the merits of the action and not class
certification, and as such should not be countenanced.

                                          III. MOTION TO DISMISS
         While Defendants’ Motion to Dismiss is multi-faceted on its face, the ultimate goal of the
motion is to telescope both the Bernstein and Spagnola actions and to limit each to a single claim
– breach of contract based on an alleged failure to increase premiums and coverage in accordance
with “current costs and values” – against a single defendant, Great Northern. In their efforts to
achieve that end, Defendants move to dismiss (1) all claims from the Bernstein action whose
dismissal was affirmed by the Second Circuit in Spagnola, (2) all claims against the Individual
Defendants in both actions,6 and (3) all claims against Chubb and FIC for failure adequately to
plead (a) alter-ego liability, (b) agency theory, or (c) standing. As will be discussed below,
Plaintiffs do not appear to dispute the first two of these contentions. With respect to Chubb and
FIC, however, Plaintiffs argue that, although they are not named in the Policies at issue, they may
be sued on the basis of an alter-ego and/or agency theory.7 Each of these contentions will be
addressed in turn.

A.       Legal Standard on Motion to Dismiss
         The Supreme Court in Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570 (2007) and, more
recently, Ashcroft v. Iqbal, 129 S.Ct. 1937, 1949 (2009), articulated the standards that apply to
Defendants’ motion to dismiss pursuant to Rule 12(b)(6). “To survive a motion to dismiss, a
complaint must contain sufficient factual matter, accepted as true, to ‘state a claim to relief that is
plausible on its face.’” Ashcroft v. Iqbal, 129 S.Ct. 1937, 1949 (2009) (quoting Twombly, 550
U.S. at 570). “A claim has facial plausibility when the plaintiff pleads factual content that allows
the court to draw the reasonable inference that the defendant is liable for the misconduct alleged.”
Id. (citing Twombly, 550 U.S. at 556). The Court must accept all factual allegations as true, but
this requirement does not apply to “[t]hreadbare recitals of the elements of a cause of action,
supported by mere conclusory statements.” Id. The court’s determination of whether a complaint
states a “plausible claim for relief” is a “context-specific inquiry” that requires application of

6
 As noted, this portion of Defendants’ Motion to Dismiss has been mooted by Bernstein’s Notice of Voluntary
Dismissal and Spagnola’s stipulation with Defendants.
7
  In their opposition to the motion to dismiss, Plaintiffs allege for the first time that Chubb and FIC may be sued on a
breach of contract claim under a “de facto contract” theory. Plaintiffs have never before advanced this particular
theory, and have cited to no authority to support it. Accordingly, the Court cannot retain Chubb or FIC in these
actions on this theory of liability.

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“judicial experience and common sense.” Id. Unless a plaintiff’s well-pleaded allegations have
“nudged [its] claims across the line from conceivable to plausible, [the plaintiff’s] complaint must
be dismissed.” Twombly, 550 U.S. at 570.
         In deciding a motion to dismiss, the Court may consider documents attached as exhibits to
the complaint or incorporated into the complaint by reference, documents that are integral to the
plaintiff’s claims, even if not explicitly incorporated by reference, and matters of which judicial
notice may be taken. See Fed. R. Civ. P. 10(c); Chambers v. Time Warner, Inc., 282 F.3d 147,
153 (2d Cir. 2002); De Jesus v. Sears, Roebuck & Co., 87 F.3d 65, 69 (2d Cir. 1996); Cortec
Indus., Inc. v. Sum Holding L.P., 949 F.2d 42, 46-48 (2d Cir. 1991), cert. denied, 503 U.S. 960
(1992); Allen v. WestPoint-Pepperell, Inc., 945 F.2d 40, 44 (2d Cir. 1991); Thomas v. Westchester
County Health Care Corp., 232 F. Supp. 2d 273, 275 (S.D.N.Y. 2002). When documents are
integral, known of and possessed by the plaintiff, and there is no dispute as to their authenticity,
the Court may consider them on a motion to dismiss. Thomas, 232 F. Supp. 2d at 276 (citing
Parrino v. FHP, Inc., 146 F.3d 699, 705 & n.4 (9th Cir. 1998); Cortec, 949 F.2d at 48).8

B.       Claims Dismissed from Spagnola’s Complaint are Likewise Dismissed from
         Bernstein’s Complaint
         Among other things, Defendants moved to dismiss all causes of action from Bernstein’s
Complaint whose dismissal from Spagnola’s Complaint has now been affirmed by the Second
Circuit. To wit, Defendants seek to dismiss Count I (violation of New York Insurance Law §
3425), Count III (deceptive trade practices under New York General Business Law § 349), Count
IV (unjust enrichment) and Count V (injunctive relief). Defendants also argue that Bernstein’s
breach of contract claim (Count II) should be dismissed to the extent it advances any theory of
liability other than that Bernstein’s coverage was increased in a manner that did not comport with
“current costs and values.” After Defendants filed their Motion to Dismiss, but before it was fully
submitted, Bernstein filed a Notice of Voluntary Dismissal that dismissed “all claims other than
Count II.” Accordingly, Plaintiffs contend that this portion of Defendants’ motion is moot.
However, to the extent that the Notice of Voluntary Dismissal did not explicitly limit Count II to
the theory on which the Second Circuit permitted Spagnola’s claim to proceed, it did not moot the
motion. As each of the causes of action in Bernstein’s Complaint that Defendants seek to dismiss


8
  In opposition to the Motion to Dismiss, Plaintiffs attempt to circumvent the rule against the consideration of
materials outside the four corners of the Complaints by relying, in part, on facts garnered in discovery thus far. This
tactic must be rejected, as the Court must only consider the allegations of the Complaints and any extrinsic documents
that are integral thereto. Thus, any citation to outside discovery materials will be disregarded.

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is identical to the claims whose dismissal was affirmed by the Second Circuit in Spagnola’s case,
they must be dismissed, and the only cause of action in Bernstein that may proceed is the breach
of contract claim insofar as it is based on “current costs and values.”

C.       Chubb and FIC as Defendants
         It is an elementary principle of contract law that no claim for breach of contract can lie
where there exists no contract between the parties. See, e.g., National Market Share, Inc. v.
Sterling Nat’l Bank, Inc., 392 F.3d 520, 525 (2d Cir. 2004). As the only party with which either of
the Plaintiffs contracted in obtaining their Masterpiece Policies was Great Northern, and no
contract is alleged to exist between Plaintiffs and either Chubb or FIC, Defendants seek dismissal
of Chubb and FIC from this action. The Court agrees that, unless Plaintiffs have adequately
alleged the existence of alter-ego liability or actual or apparent authority under an agency theory
based on the relationship between Great Northern and Chubb and/or FIC, no claim for breach of
contract can be sustained against these non-contracting Defendants.9
         1. Alter-Ego Liability10
         As an initial matter, Plaintiffs appear to argue categorically that the issue of whether the
corporate veil should be pierced so as to impose liability on a corporate alter-ego is an inherently
factual question and that “motions to dismiss these claims are not granted pre-discovery.”

9
  While Plaintiffs do not claim to bring their claim against Chubb or FIC under a theory of civil conspiracy, it is
nonetheless worth noting that no such cause of action can be sustained under New York law. See, e.g., Lehman v.
Garfinkle, 08 Civ. 9385 (SHS) (DF), 2009 U.S. Dist. LEXIS 84686, at *24-25 (S.D.N.Y. Aug. 24, 2009) (rejecting
claim of conspiracy to breach contract because “New York law does not recognize such a theory of liability”) (citing
Smith v. Fitzimmons, 180 A.D.2d 177, 178 (4th Dep’t 1992) (“There is no substantive tort of civil conspiracy; thus,
there cannot be any cause of action for conspiracy to breach [a] contract.”)).
Additionally, it should go without saying – but apparently it does not – that Plaintiffs lack standing to bring any
claims against Chubb or FIC that are based on the issuance of homeowners’ insurance policies by any insurance
subsidiary other than Great Northern. That is, Plaintiffs having purchased their policies from Great Northern only,
they cannot show any injury based on any alleged conduct by any other insurer. See, e.g., Central States Southeast &
Southwest Areas Health & Welfare Fund v. Merck Medco Managed Care, L.L.C., 433 F.3d 181, 199 (2d Cir. 2005).
“The filing of a suit as a class action does not relax [the] jurisdictional requirement” of standing on the part of the
named plaintiffs. Denney v. Deutsche Bank AG, 443 F.3d 253, 263 (2d Cir. 2006); see also O’Shea v. Littleton, 414
U.S. 488, 494 (1974). Thus, to the extent Chubb or FIC have any potential liability in this action at all, such liability
must be a factor of those companies’ relationship to Great Northern, and with no other company.
10
  In an action based on diversity of citizenship, the Court must apply the law of the state in which it sits, including
that state’s choice-of-law principles. Celle v. Filipino Reporter Enters., 209 F.3d 163, 175 (2d Cir. 2000) (citing
Klaxon Co. v. Stentor Elec. Mfg. Co., 313 U.S. 487, 496 (1941)); see also White Plains Coat & Apron Co. v. Cintas
Corp., 460 F.3d 281, 284 (2d Cir. 2006); Lazard Freres & Co. v. Protective Life Ins. Co., 108 F.3d 1531, 1538-39 (2d
Cir.), cert. denied, 522 U.S. 864 (1997). Under New York choice-of-law principles, the issue of whether the corporate
veil may be pierced is determined under the law of the state of incorporation. Fletcher v. Atex, Inc., 68 F.3d 1451,
1456 (2d Cir. 1995). Here, the parties agree that the veil-piercing inquiry must be examined under both Minnesota
and Indiana law, as Great Northern was initially incorporated under Minnesota law, until it was reincorporated on
November 28, 2007 under the laws of Indiana. See Kirby Aff. ¶ 10(C) and Ex. 5. As the Complaints allege both pre-
and post-reincorporation conduct, the law of both states must be applied.

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Plaintiffs are mistaken in this regard, as courts routinely consider, and grant, motions to dismiss
for failure adequately to allege facts sufficient to support the imputation of liability on an alleged
alter-ego. See, e.g., G4S Justice Servs., Inc. v. Correctional Program Servs., Inc., 07-cv-00945-
JMS-SEB, 2009 U.S. Dist. LEXIS 88689, at *3-4 (S.D. Ind. Sept. 25, 2009); Masterson
Personnel, Inc. v. McClatchy Co., Civ. No. 05-1274 (RHK/JJG), 2005 U.S. Dist. LEXIS 29565, at
*17-18 (D. Minn. Nov. 22, 2005); SICK, Inc. v. Motion Control Corp., Civil No. 01-1496
(JRT/FLN), 2003 U.S. Dist. LEXIS 10612, at *28 (D. Minn. June 19, 2003); Group Health Plan,
Inc. v. Philip Morris Inc., No. 98-1036 (PAM/JGL), 1999 U.S. Dist. LEXIS 9640, at *18-19 (D.
Minn. Apr. 1, 1999).
       In both Minnesota and Indiana, alter-ego liability is only rarely imposed and is seen as a
“severe” remedy used only in the most compelling circumstances. See, e.g., Escobedo v. BHM
Health Assocs., Inc., 818 N.E.2d 930, 933 (Ind. 2004) (noting that limited shareholder liability is a
“bedrock” principle of corporate law and finding “the burden on a party seeking to ‘pierce the
corporate veil’ is severe”); Groves v. Dakota Printing Servs., Inc., 371 N.W.2d 59, 62 (Minn. Ct.
App. 1985) (finding that “[l]imited liability for shareholders of corporations is the general rule”
and “[p]iercing the corporate veil is an exception to be used only under limited circumstances”);
see also Parks v. McNeilus Cos., inc., Civil No. 02-4733 (PAM/JSM), 2004 U.S. Dist. LEXIS
3230, at *7 (D. Minn. Mar. 3, 2004) (finding courts “must begin with the general presumption that
absent fraud or bad faith, a corporation will not be held liable for the acts of its subsidiaries”)
(quoting Association of Mill & Elevator Ins. Co. v. Barzen Int’l, Inc., 553 N.W.2d 446, 449 (Minn.
Ct. App. 1996)). To properly plead alter-ego liability under Minnesota law, a plaintiff must meet
two requirements: first, it must plead that the relationship between the shareholder and the
corporation is such that the corporation was not operated as a separate legal entity; and second,
that to shield the shareholder from liability would result in “injustice or fundamental unfairness.”
Victoria Elevator Co. of Minneapolis v. Meriden Grain Co., Inc., 283 N.W.2d 509, 512 (Minn.
1979); see also Trustees of the Graphic Commc’ns Int’l Union Upper Midwest Local 1M Health &
Welfare Plan v. Bjorkedal, 516 F.3d 719, 730-31 (8th Cir. 2008) (applying Minnesota law).
Similarly, under Indiana law, a plaintiff must plead (1) that “the corporate form was so ignored,
controlled or manipulated that it was merely the instrumentality of another,” and (2) “that the
misuse of the corporate form would constitute a fraud or promote injustice.” Aronson v. Price,
644 N.E.2d 864, 867 (Ind. 1994).




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         To satisfy the first prong of the analysis, plaintiffs may rely upon several “significant”
factors, including (1) insufficient capitalization for purposes of corporate undertaking, (2) failure
to observe corporate formalities, (3) nonpayment of dividends, (4) insolvency of debtor
corporation at the time of the transaction in question, (5) siphoning of funds by the dominant
shareholder, (6) nonfunctioning of other officers and directors, (7) absence of corporate records,
and (8) the existence of the corporation as a mere façade for individual dealings. Victoria
Elevator, 283 N.W.2d at 512; Aronson, 644 N.E.2d at 687. To survive a motion to dismiss, a
plaintiff must allege that “a number of these factors [are] present.” Victoria Elevator, 283 N.W.2d
at 512.11 To satisfy the second prong of the inquiry, “proof of strict common law fraud is not
required, but, rather, evidence that the corporate entity has been operated as a constructive fraud or
in an unjust manner must be presented.” Groves, 371 N.W.2d at 62-63 (quoting White v.
Jorgenson, 322 N.W.2d 607, 608 (Minn. 1982)); see also Extra Energy Coal Co. v. Diamond
Energy & Res., Inc., 467 N.E.2d 439, 441-42 (Ind. Ct. App. 1984) (“Indiana courts are reluctant to
disregard corporate identity and do so only to protect innocent third parties from fraud or injustice
when transacting business with a corporate entity.”); cf. Cooper v. Lakewood Eng’g & Mfg. Co.,
874 F. Supp. 947, (D. Minn. 1994) (“Minnesota law is clear that the plaintiff’s misfortune of being
deprived of a potentially liable party is not, standing alone, an injustice. An ‘injustice’ warranting
the equitable remedy of piercing the corporate veil exists only when the subsidiary was operated
as a . . . constructive fraud or in an unjust manner.”).
         It is incumbent upon Plaintiffs to plead sufficient facts to support both prongs of the veil-
piercing inquiry – that is, both disregard for the corporate form and resulting fraud or injustice.
See Escobedo, 818 N.E.2d at 934-35; Groves, 371 N.W.2d at 62. In pleading these elements,
Plaintiffs must do more that merely parrot the factors enumerated in the veil-piercing case law.
See, e.g., G4S Servs., 2009 U.S. Dist. LEXIS 88689, at *3-4.
         Here, Plaintiffs point to various paragraphs of the Spagnola and Bernstein Complaints that
they contend satisfy the Victoria Elevator and Aronson tests and enable them to pierce Great

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   As Plaintiffs rightly point out, these enumerated factors are not exclusive, and courts may of course consider
additional factors, including: (1) the use of dividends and directors’ meetings, (2) proper maintenance of notes of
directors’ meetings, (3) stated capital of the company, (4) similarity of corporate names, (5) common principal
corporate officers, directors and employees, (6) similarity of business purposes and (7) whether same business
locations and/or telephone numbers were used. See, e.g., Four Seasons Mfg., Inc. v. 1001 Coliseum, LLC, 870 N.E.2d
494, 504-05 (Ind. Ct. App. 2007) (citing Smith v. McLeod Distrib., Inc., 744 N.E.2d 459, 463 (Ind. Ct. App. 2000));
Snyder Elec. Co. v. Fleming, 305 N.W.2d 863, 868 (Minn. 1981). However, “[w]hile the Victoria Elevator list of
factors is not exhaustive, it does provide guidance as to the sort of considerations courts should analyze in making an
alter ego determination.” Hopkins v. Trans Union, L.L.C., No. 03-5433 ADM/RLE, 2004 WL 1854191, at *4 (D.
Minn. Aug. 19, 2004).

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Northern’s corporate veil. Specifically, Plaintiffs point to their allegations that (a) in a 2005 credit
agreement, Chubb and its subsidiaries were “considered as a whole” for all material purposes, see
Spagnola Compl. ¶ 27, Bernstein Compl. ¶ 26; (b) Chubb was the sole signatory of an Assurance
of Discontinuance with the Attorneys General of New York, Connecticut and Illinois in 2006, in
which it purported to bind all of its wholly-owned insurance subsidiaries, see Spagnola Compl. ¶
28, Bernstein Compl. ¶ 27; (c) Chubb is the holding company of all shares of entities that
comprise the Chubb Group, see Spagnola Compl. ¶ 29; (d) a March 2006 Form 10-K stated that
Chubb’s ability to pay dividends or otherwise satisfy its obligations was “dependent in large part
on the dividend paying ability of its property and casualty insurance subsidiaries,” see Spagnola
Compl. ¶ 26, Bernstein Compl. ¶ 25; (e) there is substantial overlap of senior management,
officers and directors of Chubb and the members of the Chubb Group, see Spagnola Compl. ¶¶ 21-
25, Bernstein Compl. ¶¶ 20-23; (f) advertisements and standard form policies refer only to
“Chubb” or the “Chubb Group,” with no specific reference to Great Northern, see Spagnola
Compl. ¶¶ 34-35, Bernstein Compl. ¶ 34; and (g) Chubb’s standard form policies define “Chubb”
as “the Chubb Group of Insurance Companies” and instructs insureds to direct questions to
“Chubb,” see Spagnola Compl. ¶¶ 36-40, Bernstein Compl. ¶¶ 36-40.
       Plaintiffs contend that these allegations suffice to give Defendants “notice of their
intention to pierce the corporate veil.” However, this is itself insufficient, and Plaintiffs must
plead sufficient allegations to make their claim of alter-ego liability plausible and more than the
“mere possibility of misconduct.” Iqbal, 129 S.Ct. at 1950. Although Plaintiffs have alleged facts
to suggest some overlap between the operations of Chubb and its subsidiaries, this overlap is not
unusual and Plaintiffs’ allegations do not rise to the level that indicates the kind of complete
domination and control that is required under the first prong of the alter-ego analysis. Indeed,
courts routinely refuse to pierce the corporate veil based on allegations limited to the existence of
shared office space or overlapping management, allegations that one company is the wholly-
owned subsidiary of another, or that companies are to be “considered as a whole.” See Phil
Crowley Steel Corp. v. Sharon Steel Corp., 702 F.2d 719, 722 (8th Cir. 1983) (100 percent
ownership insufficient to pierce corporate veil); SICK, Inc., 2003 U.S. Dist. LEXIS 10612 at *27
(allegations that companies “share employees, offices and equipment” insufficient to pierce
corporate veil); Group Health Plan, 1999 U.S. Dist. LEXIS 9640 at *18 (parent’s occasional
references to “we,” “our,” or “the Group,” to include subsidiaries insufficient to pierce corporate
veil); O’Brien v. Watco Contract Switching, Inc., 802 N.E.2d 999, 1007-08 (Ind. Ct. App. 2004)


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(corporate ownership of subsidiary, overlapping officers and directors insufficient to impose alter-
ego liability); Extra Energy Coal, 467 N.E.2d at 441 (nearly identical directors, officers and
shareholders insufficient to find alter-ego liability).12 Accordingly, the Court finds that Plaintiffs
have failed to sustain their pleading burden on the first prong of the veil-piercing inquiry.
         But, even if the Court were to find that Plaintiffs have alleged sufficient facts to support a
finding that the first prong is satisfied, the Plaintiffs fail on the second. That is, with respect to the
injustice element, Plaintiffs contend that “if only one Chubb insurance subsidiary is controlled by
this litigation, it would leave Chubb Corp. free to operate in the same way through other of its
wholly owned subsidiary group members.” See also Spagnola Compl. ¶ 44 (“[I]f the parent were
excused from these proceedings, the practices complained of would persist through other
subsidiaries other than the one that nominally issued the plaintiff’s policy. This would work a
grave injustice and be fundamentally unfair to the thousands of other policy holders.”); Bernstein
Compl. ¶ 44 (same). This single allegation is “devoid of [the] further factual enhancement”
required for them to be credited by this Court and is certainly insufficient, in itself, to withstand
Defendants’ motion to dismiss. Iqbal, 129 S.Ct. at 1949 (quotation omitted).
         In any event, even if the Court were to credit this conclusory allegation, it is nonetheless
insufficient for at least two reasons. First, it relates only to Chubb and fails to allege any facts
whatsoever that would support alter-ego liability on the part of FIC. Second, such an allegation is
plainly insufficient to surmount the burden to allege the kind of injustice that the alter-ego doctrine
seeks to prevent, that is, injustice caused to third parties when a corporation (i.e., Great Northern)
is itself operated as a constructive fraud or in an unjust manner. Plaintiffs have alleged no facts to
support any such conclusion, and thus the Court must find that Plaintiffs have failed to adequately
meet their burden and to succeed in their effort to plead alter-ego liability on the part of either
Chubb or FIC under either Minnesota or Indiana law.
         2. Agency Theory Liability
         Plaintiff’s alternative theory to bind Chubb and FIC is under agency theory. That is,
Plaintiffs contend that they have alleged sufficient facts to support the conclusion that Great
Northern acted as the agent of Chubb and/or FIC, and as such Chubb and/or FIC are bound by
Great Northern’s conduct. Yet again, Plaintiffs argue that the question of whether Chubb or FIC


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  Plaintiffs fare no better in their reliance on paragraph 42 of the Spagnola and Bernstein Complaints, which
essentially parrots the veil-piercing factors from Victoria Elevator, Aronson, and related case law. As noted, these
“[t]hreadbare recitals . . . [and] conclusory statements” are insufficient to withstand a motion to dismiss. See Iqbal,
129 S.Ct. at 1949.

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can be liable on an agency theory is an inherently factual one and its resolution is inappropriate on
a motion to dismiss. And yet again, Plaintiffs are mistaken: courts routinely dismiss claims based
on agency theory where the pleadings contain insufficient allegations in that regard. See, e.g.,
Adams v. Labaton, Sucharow & Rudoff LLP, 07 Civ. 7017 (DAB), 2009 U.S. Dist. LEXIS 35085,
at *11-12 (S.D.N.Y. Mar. 30, 2009); Cromer Finance Ltd. v. Berger, 137 F. Supp. 2d 452, 486-88
(S.D.N.Y. 2001); Maung Ng We v. Merrill Lynch & Co., Inc., 99 Civ. 9687 (CSH), 2000 U.S.
Dist. LEXIS 11660, at *26-30 (S.D.N.Y. Aug. 15, 2000); International Customs Ass’n, Inc. v.
Ford Motor Co., 893 F. Supp. 1251 (S.D.N.Y. 1995).
         Although a parent corporation may be held accountable for the wrongs of its subsidiary
under an agency theory, courts have long ago concluded that such a finding is remote. Maung Ng
We, 2000 U.S. Dist. LEXIS 11660, at *8 (quoting Kingston Dry Dock Co. v. Lake Champlain
Transp. Co., 31 F.2d 265, 267 (2d Cir. 1929)) (L. Hand, J.).13 Simply put, “the law recognizes
that corporations may be organized in ways to limit liability among separate corporate entities . . .
thus a parent company is not automatically liable for the acts of a wholly-owned subsidiary.”
JHW Greentree Capital, L.P. v. Whittier Trust Co., 05 Civ. 2985 (HB), 2005 U.S. Dist. LEXIS
27156, at * (S.D.N.Y. Nov. 10, 2005) (quoting Manchester Equip. Co., Inc. v. American Way &
Moving Co., Inc., 60 F. Supp. 2d 3, 6 (E.D.N.Y. 1999)).
         Under New York law, “an agent must have authority, whether apparent, actual or implied,
to bind his principal.” Merrill Lynch Interfunding, Inc. v. Argenti, 155 F.3d 113, 122 (2d Cir.
1998). Plaintiffs contend that they have sufficiently alleged both actual and apparent authority.
Each basis for liability will be addressed in turn.
                  (a) Actual Authority
         Actual authority “is the power of the agent to do an act or to conduct a transaction on
account of the principal which, with respect to the principal, he is privileged to do because of the
principal’s manifestations to him.” Dinaco, Inc. v. Time Warner, Inc., 346 F.3d 64, 68 (2d Cir.
2003) (quoting Minskoff v. American Express Travel Related Servs. Co., Inc., 98 F.3d 703, 708

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  To hold a corporate parent liable for the acts of its subsidiary is “materially different from recovering from a parent
by disregarding the corporate form under a veil piercing analysis.” Maung Ng We, 2000 U.S. Dist. LEXIS 11660 at
*9. Thus, under an agency theory,
             the claim against the parent is premised on the view that the subsidiary had authority to act,
             and was in fact acting, on the parent’s behalf -- that is, in the name of the parent . . . [while
             under alter-ego theory], the putative plaintiff does not dispute that the underlying obligation
             belongs to the corporate subsidiary; however, he seeks to hold the parent liable on the
             theory that the parent fraudulently induced the subsidiary to incur the obligation.
Royal Indus. Ltd. v. Kraft Foods, Inc., 926 F. Supp. 407, 412 (S.D.N.Y. 1996), aff’d, 164 F.3d 619 (2d Cir. 1998).

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(2d Cir. 1996)); see also Cromer Finance, 137 F. Supp. 2d at 486 (“Actual authority arises from a
manifestation [of consent] from principal to agent.”)(citations omitted). The consent necessary for
actual authority may be “either express or implied from the parties’ words and conduct as
construed in light of the surrounding circumstances.” Cromer Finance, 137 F. Supp. 2d at 486
(internal quotation marks and citation omitted). Thus, to establish actual agency, a plaintiff must
demonstrate the following elements: (1) manifestation by the principal that the agent shall act for
him; (2) the agent accepted the undertaking; and (3) an understanding between the parties that the
principal is to be in control of the undertaking. Maung Ng We, 2000 U.S. Dist. LEXIS 11660 at
*11-12 (quoting Rubin Bros. Footwear, Inc. v. Chemical Bank, 119 B.R. 416, 422 (S.D.N.Y.
1990)). Unlike apparent authority, the question of whether actual authority exists “depends upon
the actual interactions of the putative agent and principal and not on the perception a third party
may have of the relationship.” Manchester Equip., 60 F. Supp. 2d at 8.
        The keystone to an agency relationship is an allegation that “the agent acts subject to the
control of the principal’s direction and control.” Shulman Transp. Enters., Inc. v. Pan Am. World
Airways, Inc., 744 F.2d 293, 295 (2d Cir. 1984). Thus, “[t]here is no agency relationship where
the alleged principal has no right of control over the alleged agent.” Maung Ng We, 2000 U.S.
Dist. LEXIS 11660 at *13 (quoting Morgan Guar. Trust Co. of N.Y. v. Republic of Palau, 657 F.
Supp. 1475, 1481 n.2 (S.D.N.Y. 1987)).
        Here, in support of their position that they have adequately pled actual authority, Plaintiffs
point to all the same allegations as they contended support their veil-piercing theory as evincing
Chubb’s complete power over its insurance subsidiaries. Plaintiffs also point to their allegations
relating to Chubb’s entry into an Assurance of Discontinuance with the Attorneys General of three
states as support for that complete domination and control. Even if the Court were to find that
these allegations were sufficient to show the type of “direction and control” necessary to show
actual authority – a proposition that is itself doubtful14 – that in itself is insufficient where, as here,
Plaintiffs have pled no facts to indicate that Chubb or FIC ever manifested to Great Northern its
intent that Great Northern would be authorized to bind them by its transactions with insureds.
Plaintiffs have pointed out no such allegation, nor is it likely that they could, and a close parsing



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   Indeed, many of the paragraphs of the Complaints to which Plaintiffs direct the Court contain nothing more than
bare allegations that Great Northern and/or FIC is an agent of Chubb. See Spagnola Compl. ¶ 4, 13, 14, 18, 41. These
allegations are merely conclusions that the Court need not credit on a motion to dismiss. See, e.g., Maung Ng We,
2000 U.S. Dist. LEXIS 11660 at *16-17.

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of the Complaints supports this proposition. Since a manifestation of consent is an essential
element of actual authority, the Court must reject this theory of liability for both Chubb and FIC.
               (b) Apparent Authority
       To adequately plead the existence of apparent authority, a plaintiff must allege “words or
conduct of the principal, communicated to a third party, that give rise to the appearance and belief
that the agent possesses authority to enter into a transaction on behalf of the principal.” Cromer
Finance, 137 F. Supp. 2d at 286 (quoting Standard Funding Corp. v. Lewitt, 89 N.Y.2d 546,
(1997)) (emphasis in Standard Funding). Where a third party has reasonably relied on the
principal’s words of conduct to that effect, the appearance of authority binds the principal. Id. at
486-87. Thus, to recover on a theory of apparent authority, a party must sufficiently plead two
elements: “(1) the principal was responsible for the appearance of authority in the agent to conduct
the transaction in question, and (2) the third party reasonably relied on the representation of the
agent.” Herbert Constr. Co. v. Continental Ins. Co., 931 F.2d 989, 994 (2d Cir. 1991). The core
principle that underlies the theory of apparent authority is that a third party must have relied on
“the misrepresentations of the agent because of some misleading conduct on the part of the
principal – not the agent.” Adams, 2009 U.S. Dist. LEXIS 35085 at *10 (quoting Herbert, 931
F.2d at 993) (emphasis in original); see also Fennell v. TLB Kent Co., 865 F.2d 498, 502 (2d Cir.
1989) (rejecting notion that an agent can create apparent authority by its own actions or
representations).
        “Because the existence of a principal/agent relationship and the creation of apparent
authority depend crucially on the words or actions of the principal[,] to state a claim sufficient as a
matter of law . . . Plaintiff[s] . . . must allege some action on the part of [Chubb and/or FIC] from
which [Great Northern’s] agency may be inferred.” Adams, 2009 U.S. Dist. LEXIS 35085 at *11
(citing Ferrostaal, Inc. v. M/V SEA BAISEN, 02 Civ. 1900 (RJH) (DCF), 2004 WL 2734745, at *3
(S.D.N.Y. Nov. 30, 2004)) (emphasis in original). That is, Plaintiffs “must show that [they]
reasonably believed that [Great Northern] entered into the [Policies] on behalf of [Chubb and/or
FIC] and not on its own behalf.” Dinaco, 346 F.3d at 69.
       Here, Defendants rely in part on the Appellate Division’s opinion in Zigabarra v. Falk,
143 A.D.2d 901 (2d Dep’t 1988), in which the court found that a corporate parent could not be
held on an apparent authority theory because “the contract clearly indicates that the plaintiffs were
entering this transaction solely with Falk and, accordingly, any reliance upon Falk’s apparent
authority was unreasonable.” Id. at 902. However, Zigabarra is distinguishable from this case


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because in Zigabarra, there were no facts alleged, apart from the fact that contract negotiations
took place at the contracting party’s corporate office, that the parent had itself made any
representations on which the plaintiffs could have reasonably relied. By contrast, here, Plaintiffs
have made a number of factual allegations of Chubb’s representations to the insureds, including
Plaintiffs, that might have reasonably suggested that it wielded control over Great Northern and
was essentially a party to the insurance contracts. See In re Nigeria Charter Flights Contract
Litig., 520 F. Supp. 2d 447, 464 (E.D.N.Y. 2007) (denying summary judgment where, among
other things, tickets plaintiffs purchased “themselves appear likely to have created ambiguity
about whether purchasers . . . were contracting with Ritetime, World, or both”). Specifically,
Plaintiffs have alleged that the cover letter enclosing the Policies bore the Chubb trademarked
logo; that an integrated advertising and marketing campaign relating to the Policies referred only
generally to “Chubb”; that insureds under the Policies were directed to make all inquiries to
Chubb and to make payments “payable to Chubb”. The Court agrees with Plaintiffs that they have
thus sufficiently alleged that insureds could have reasonably believed that they had contracted
with Chubb and not Great Northern, notwithstanding the express terms of the policies. Thus,
while it is true that “[t]he presence of a parent’s logo on documents created and distributed by a
subsidiary, standing alone, does not confer authority upon the subsidiary to act as an agent,”
Fletcher, 68 F.3d at 1461-62, Plaintiffs have alleged sufficient additional facts to survive a motion
to dismiss with respect to Chubb on an apparent authority theory.15 However, Plaintiffs have
failed to allege any representations at all by FIC to any third parties, to say nothing of the third
parties’ reliance thereon, and as such Plaintiffs have failed adequately to plead apparent authority
on the part of FIC. Accordingly, Plaintiffs’ breach of contract claims against FIC must be
dismissed.16




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  To the extent Plaintiffs seek to base any part of their apparent authority theory on the Assurance of Discontinuance,
however, that argument must fail. The Assurance was entered into in 2006, while Spagnola purchased his Policy in
2001 and Bernstein purchased his Policies in 1988 and 1999. Having purchased their policies before the Assurance,
Plaintiffs could not possibly have relied on the Assurance as a representation of apparent authority.
16
  Plaintiffs contend that “if repleading were required, the mentioned extrinsic evidence could be adduced to support”
their claims. There are several problems with this approach, not the least of which is that it contravenes this Court’s
Individual Practices, which clearly state that a Plaintiff’s options when faced with a motion to dismiss are to fight the
motion or to amend the complaint, but not both. Moreover, as Defendants point out, Spagnola’s current Complaint is
his fourth version, and his counsel has had yet another bite at the apple in filing the Bernstein Complaint; not even a
core is left. Thus, the dismissal of FIC from this action must be without leave to replead, as Plaintiffs have exhausted
this Court’s “liberal” amendment policy.

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                                     IV. MOTION TO STRIKE
        As a preliminary matter to the class certification motion, the Court must address Plaintiffs’
motion to strike. By way of this motion, Plaintiffs seek to exclude the Spencer Affidavit as well
as portions of Defendants’ memorandum of law in support of its Motion to Deny Class
Certification because (a) they relate to the merits of the case and not class certification, and (b)
Defendants withheld discovery on merits discovery even where it also related to class issues, and
Plaintiffs did not receive a “full and fair opportunity” to depose Spencer. Plaintiffs’ motion to
strike is denied. The record before the Court demonstrates that Defendants did not wrongfully
stymie Plaintiffs’ discovery efforts, and that the Spencer affidavit, along with the remainder of
Defendants’ arguments in support of their motion, appear to be perfectly appropriate. To the
extent any of Defendants’ arguments, or any of the Spencer affidavit, encroach too far into merits-
related issues rather than certification-related ones, the Court assures Plaintiffs that it is able to
separate the wheat from the chaff, and will simply disregard any materials that involve solely
merit issues, if there are any.

                       V. MOTION TO DENY CLASS CERTIFICATION
        Plaintiffs filed these actions as putative class actions and seek to have the following class
certified under Rules 23(b)(2) and 23(b)(3) of the Federal Rules of Civil Procedure:
            [A] class comprised of all persons or entities (a) who, from April 1, 2000
            to the present (the “class period”), purchased replacement cost
            homeowners’ insurance policies from Chubb, through any of its wholly-
            owned subsidiaries, including defendant Federal Insurance Company and
            its wholly-owned subsidiaries, including Great Northern Insurance
            Company, respecting property located in the State of New York, that state
            in words or substance that:
                    With your consent, we may change [the amount of coverage
                    reflected in the coverage summary] when appraisals are
                    conducted and when the policy is renewed, to reflect current
                    costs and values.
                                               *     *    *
                    [The coverage amount] will be increased daily to reflect the
                    current effect of inflation. At the time of a covered loss, your
                    amount of house coverage will include any increase in the
                    United States Consumer Price Index from the beginning of
                    the policy period.

            and (b) who either have been injured by the practices complained of or
            who are at risk of suffering injuries by the practices complained of.


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       Defendants have made a preemptive motion to deny class certification. Even though the
issue of class certification thus comes before the Court on Defendants’ motion, the burden remains
on Plaintiffs to prove that each of the required elements for class certification under Rule 23 has
been satisfied. See Fedetov v. Peter T. Roach & Assocs., P.C., 354 F. Supp. 2d 471, 578
(S.D.N.Y. 2005); see also 5-23 MOORE’S FEDERAL PRACTICE 3d § 23.82 (“The defendant need not
wait for the plaintiff to act, however. The defendant may move for an order denying class
certification.”). As will be described in detail below, and as one court has aptly noted, “[t]his is no
pro forma burden.” In re Zyprexa Prods. Liab. Litig., 253 F.R.D. 69, 192 (E.D.N.Y. 2008).
Indeed, under the legal standards as recently clarified by the Second Circuit, Plaintiffs now face a
significant burden to show that class certification is appropriate.

A.     Legal Standard for Class Certification
       To qualify for class certification, Plaintiffs must prove that the putative class meets the
four threshold requirements of Rule 23(a); if those requirements are satisfied, Plaintiffs must also
establish that the class is maintainable under at least one of the subsections of Rule 23(b). As the
Second Circuit recently has clarified, the requirements of Rule 23 must be proved by a
“preponderance of the evidence.” Teamsters Local 445 Freight Div. Pension Fund v. Bombardier
Inc., 546 F.3d 196, 202 (2d Cir. 2008). Courts must engage in a “rigorous analysis” to determine
whether a plaintiff has met this burden. In re Initial Public Offerings Sec. Litig., 472 F.3d 24, 33
(2d Cir. 2006) (quoting General Tel. Co. of the Southwest v. Falcon, 457 U.S. 147, 160-61 (1982))
(“In re IPO”), reh’g denied, 483 F.3d 70 (2d Cir. 2007). In In re IPO, the Second Circuit clarified
what that “rigorous analysis” entails:
           (1) a district judge may certify a class only after making determinations
           that each of the Rule 23 requirements has been met; (2) such
           determinations can be made only if the judge resolves factual disputes
           relevant to each Rule 23 requirement and finds that whatever underlying
           facts are relevant to a particular Rule 23 requirement have been
           established and is persuaded to rule, based on the relevant facts and the
           applicable legal standard, that the requirement is met; (3) the obligation to
           make such determinations is not lessened by overlap between a Rule 23
           requirement and a merits issue, even a merits issue that is identical with a
           Rule 23 requirement; [and] (4) in making such determinations, a district
           judge should not assess any aspect of the merits unrelated to a Rule 23
           requirement . . . .




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In re IPO, 471 F.3d at 41; see also In re Flag Telecom Holdings, Ltd. Sec. Litig., 574 F.3d 29, 34-
35 (2d Cir. 2009).17 Thus, the Second Circuit has now expressly disavowed its previous view that
class certification may be granted when plaintiffs have merely made “some showing” of the Rule
23 prerequisites. See In re IPO, 471 F.3d at 32. District courts are not required to hold a full
evidentiary hearing on Rule 23 issues, so long as they “receive enough evidence, by affidavits,
documents, or testimony, to be satisfied that each Rule 23 requirement has been met.”
Bombardier, 546 F.3d at 204 (quoting In re IPO, 471 F.3d at 41). However, “[w]hile the Court of
Appeals now requires district courts to dive deeper into the facts at the class certification stage,
‘the holdings of In re IPO are both significant and narrow -- a district judge must consider all of
the relevant evidence in determining whether Rule 23 has been satisfied, but a district judge may
not go beyond the boundaries of Rule 23 when making such a determination.’” In re NYSE
Specialists Sec. Litig., 260 F.R.D. 55, 69 (S.D.N.Y. 2009) (quoting Hnot v. Willis Group Holdings,
Ltd., 241 F.R.D. 204, 209 (S.D.N.Y. 2007)).

B.       Rule 23(a) Requirements
         To qualify for class certification, Plaintiffs must prove four elements by a preponderance
of the evidence: (1) numerosity, (2) commonality, (3) typicality, and (4) adequate representation.
See Fed. R. Civ. P. 23(a). In addition to these elements, “Rule 23 contains an implicit requirement
that the proposed class be precise, objective and presently ascertainable.” Bakalar v. Vavra, 237
F.R.D. 59, 64 (S.D.N.Y. 2006). Each of the elements that are at issue in this case will be
addressed in turn.18
         1. Commonality and Typicality19
         To establish commonality, Plaintiffs must prove that common issues of fact or law exist
and affect all class members. Steinberg v. Nationwide Mut. Ins. Co., 224 F.R.D. 67, 72 (E.D.N.Y.

17
  The resolution of any factual dispute that is material to a Rule 23 requirement is made only for the purposes of the
class certification phase, “and is not binding on the trier of facts, even if that trier is the class certification judge.” In
re IPO, 471 F.3d at 41; see also id. at 39 (“A trial judge’s finding on a merits issue for purposes of a Rule 23
requirement no more binds the court to rule for the plaintiff on the ultimate merits of that issue than does a finding
that the plaintiff has shown a probability of success for purposes of a preliminary injunction.”) (emphasis in original).
18
  There is no dispute here that the first element required for class certification – numerosity – is satisfied, and
therefore this element need not be addressed.
19
  In their memorandum of law in support of the instant motion, Defendants address commonality and typicality
together, and I will do the same. As the Supreme Court has found, “[t]he commonality and typicality requirements of
Rule 23(a) tend to merge. Both serve as guideposts for determining whether under the particular circumstances
maintenance of a class action is economical and whether the named plaintiff’s claim and the class claims are so
interrelated that the interests of the class members will be fairly and adequately protected in their absence.” Falcon,
457 U.S. at 158 n.13; see also Attenborough v. Construction & Gen. Building Laborers’ Local 79, 238 F.R.D. 82, 94
(S.D.N.Y. 2006).

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2004). However, class certification will not necessarily be precluded by differing individual
circumstances of class members; rather, “the critical inquiry is whether the common questions are
at the core of the cause of action alleged.” Vengurlekar v. Silverline Techs., Ltd., 220 F.R.D. 222,
227 (S.D.N.Y. 2003). Indeed, under Rule 23(a), even “a single common question may be
sufficient.” Bakalar, 237 F.R.D. at 67; see also Marisol A. v. Giuliani, 929 F. Supp. 662, 690
(S.D.N.Y. 1996) (citation omitted).
       To establish typicality, Plaintiffs must prove that each member’s claims arise from the
same course of events and that each class member makes similar legal arguments to prove
liability. Steinberg, 224 F.R.D. at 72; see also Robidoux v. Celani, 987 F.2d 932, 936-37 (2d Cir.
1993); In re Methyl Tertiary Butyl Ether (“MTBE”) Prods. Liab. Litig., 209 F.R.D. 323, 337
(S.D.N.Y. 2002). “The typicality requirement is meant to ensure that the class representative is
not subject to a unique defense which could potentially become the focus of the litigation.”
Steinberg, 224 F.R.D. at 72. Thus, numerous cases have found that a putative class
representative’s claims are not typical of those of the putative class if that representative’s claims
are subject to unique defenses. E.g., Baffa v. Donaldson, Lufkin & Jenrette Sec. Litig. Corp., 222
F.3d 52, 59-60 (2d Cir. 2000); Newman v. RCN Telecom Servs., Inc., 238 F.R.D. 57, 63 (S.D.N.Y.
2006). The rule barring certification of plaintiffs subject to unique defenses is “not rigidly applied
in this Circuit”; rather, it is generally applied “only where a full defense is available against an
individual plaintiff’s action.” Newman, 238 F.R.D. at 76-77. “The test is whether the defenses
will become the focus of the litigation, thus overshadowing the primary claims, and prejudicing
other class members.” In re MTBE, 209 F.R.D. at 338 n.22 (citing Landry v. Price Waterhouse
Chartered Accountants, 123 F.R.D. 474, 476 (S.D.N.Y. 1989)). In particular as it relates to the
claim here, the “unique defense” doctrine has been applied to find a plaintiff’s claims atypical
where his or her claim is subject to a potential defense based on the voluntary payment doctrine.
E.g., Gary Plastic Packaging Corp. v. Merrill Lynch, Pierce, Fenner & Smith, Inc., 903 F.2d 176,
179-80 (2d Cir. 1990); Newman, 238 F.R.D. at 78; In re Currency Conversion Fee Antitrust Litig.,
230 F.R.D. 303, 308 (S.D.N.Y. 2004); Dillon v. U-A Columbia Cablevision of Westchester, Inc.,
100 N.Y.2d 525, 526 (2003).
       Defendants advance three different reasons why the required elements of commonality and
typicality are lacking in this case; to wit, they contend that (1) Plaintiffs advance different legal
interpretations of the Policy and are therefore not even typical of one another, to say nothing of the
absent class members; (2) Plaintiffs’ claims are subject to at least one unique dispositive defense


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(i.e., the voluntary payment doctrine); and (3) Plaintiffs cannot purport to represent a class of
insureds who purchased an insurance policy from any entity other than Great Northern. As to this
final issue, this Court’s lengthy discussion on Defendants’ Motion to Dismiss should quell
Defendants’ concern, as it has now been held that no claims may be advanced based on any policy
issued by any insurance subsidiary other than Great Northern. While the other two concerns do
give me some pause, ultimately the Court finds that Plaintiffs have satisfied their burden to prove
typicality and commonality – if only barely.20
         First, Defendants’ argument that the Plaintiffs advance differing interpretations of the
contracts at issue need not derail the Court for long. Here, Plaintiffs contend that the “practices
complained of” are Chubb’s increase of coverage in some as-yet unknown way that did not, as the
policies provided, reflect either “current costs and values” or CPI. In other words, Plaintiffs’
claims are apparently based on the contention that a reasonable policyholder could have
interpreted the Policy to provide that one of the ways in which coverage could be increased was
according to CPI. However, Spagnola testified at his deposition that he never understood that
annual increases would be tied to CPI, and indeed, that it would be unreasonable to so interpret the
Policy. See Spagnola Dep. at 152:2-153:2. Bernstein, on the other hand, testified that he
understood that the annual increases had to “be based entirely on the CPI.” Bernstein Dep. at
82:13-20.
         While this testimony illustrates that the Plaintiff’s views of the meaning of the contract are
antithetical to one another, nonetheless the contract can only have had one actual meaning. It is
not the Court’s task, at this stage of the proceedings, to determine what that meaning was. But
whatever the contract meant, it had the same meaning with respect to all policyholders, and the
final determination of that meaning does not depend on Plaintiffs’ own subjective understanding.
Thus, as Plaintiffs contend, the claims at issue in this case bear at least two common questions: (a)




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   As an initial matter, the Court must reject Plaintiffs’ attempt to bootstrap the Second Circuit’s decision on an appeal
of the dismissal of Spagnola’s Complaint into a finding of typicality. Here, Plaintiffs inexplicably argue that “[t]he
Second Circuit’s reinstatement of the contract claims carries implicit recognition of the typicality of the class and the
appropriateness of class certification.” The reasoning behind this contention is that in reversing this Court’s dismissal
of Spagnola’s breach of contract claim, the Second Circuit relied on a New York state court case, which in its
subsequent history also was certified as a class action under New York law. Plainly, the subsequent history of a
different case, with different facts and different putative class representative, cannot be the basis for such a far-fetched
conclusion. Put another way, the Second Circuit gave no indication in its opinion that it contemplated any future class
treatment in this case.

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the meaning of the term “current costs and values” and its relationship to CPI, and (b) whether the
methodology that was actually used to raise coverage was permitted under the contract.21
         Defendants’ second argument – that a finding of typicality is precluded by the availability
of a unique defense – gives the Court a bit more pause. The Second Circuit expressly
acknowledged that Spagnola’s claim (and by extension, Bernstein’s claim) ultimately may be
determined to be barred by the voluntary payment doctrine, but found that it was too early to
arrive at that conclusion. See Spagnola, 574 F.3d at 73. Defendants now argue that it is no longer
“too early . . . to conclusively answer [the] question” of whether the voluntary payment doctrine
applies to bar Plaintiffs’ claims, see id. at 73, because subsequent discovery makes it “clear
beyond peradventure that their claims should be dismissed” based on the doctrine. The Circuit,
however, comes out differently, and instructs us that “in making [Rule 23] determinations, a
district judge should not assess any aspect of the merits unrelated to a Rule 23 requirement.” In re
IPO, 471 F.3d at 41. The Court does acknowledge that commonality and typicality under Rule
23(a)(2) and (3) are not terribly exacting hurdles to overcome – indeed, as numerous courts have
found, even “a single common question may be sufficient” to satisfy the Plaintiffs’ burden, and the
existence of some individualized questions need not destroy commonality or typicality. See, e.g.,
Bakalar, 237 F.R.D. at 67; Vengurlekar, 220 F.R.D. at 227. Here, Plaintiffs’ claims, and the
claims of the putative class, arise out of the same course of conduct or practice and are based on
essentially the same legal theories; thus, the potential for a unique defense does not preclude a
finding of commonality and typicality.22
         2. Adequate Representation
         To show that absent class members are adequately represented, Plaintiffs must prove that
(1) class counsel is qualified, experienced, and generally able to conduct the litigation, In re
Drexel Burnham Lambert Group, Inc., 960 F.2d 285, 291 (2d Cir. 1992); 23 and (2) proposed class
representatives have no interests that are antagonistic to the proposed class members, In re Joint E.

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  However, as will be discussed in further detail, Plaintiffs utter inability to arrive at a single theory of their cases
reflects upon their inability to serve as adequate representatives for the absent class.
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  The availability of the voluntary payment defense does, however, preclude a finding of predominance, as will be
discussed in detail below.
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   Defendants raise no argument to challenge the expertise or competence of Kirby McInerney LLP, proposed class
counsel, or of Roger Kirby or Peter Linden, lead plaintiffs’ attorneys, to litigate this case. However, it is worth noting
that, as this Court has held in the past, because “[t]he proposed class includes thousands of [policyholders], both male
and female, arguably from diverse racial and ethnic backgrounds . . . it is important to all concerned that there is
evidence of diversity, in terms of race and gender, of any class counsel.” In re J.P. Morgan Chase Cash Balance
Litig., 242 F.R.D. 265, 277 (S.D.N.Y. 2007). Here, Kirby McInerney has provided no information – firm resumé,
attorney biographies, or otherwise – on this score.

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& S. Dist. Asbestos Litig., 78 F.3d 764, 778 (2d Cir. 1996). The purpose of Rule 23(a)(4)’s
adequacy requirement is “to ferret out potential conflicts between representatives and other class
members.” Freeland v. AT&T Corp., 238 F.R.D. 130, (S.D.N.Y. 2006) (emphasis and citation
omitted). Courts are to “carefully scrutinize the adequacy of representation in all class actions.”
Attenborough, 238 F.R.D. at 100 (quoting Eisen v. Carlisle & Jacqueline, 391 F.2d 555, 562 (2d
Cir. 1968)). “Courts do not require the representative plaintiff to be the best of all possible
plaintiffs.” Bano v. Union Carbide Corp., 99 Civ. 11329 (JFK) (HBP), 2005 U.S. Dist. LEXIS
32595, at *29 (S.D.N.Y. Aug. 12, 2005). Rather, factors that the Court should consider to
determine whether the absent class is adequately represented include: (1) whether the proposed
plaintiffs are credible, Savino v. Computer Credit, Inc., 164 F.3d 81, 87 (2d Cir. 1998); (2)
whether the proposed plaintiffs have adequate knowledge of the case and are actively involved,
Baffa, 222 F.3d at 61; and (2) whether the interest of the proposed plaintiffs are in conflict with
those of the remainder of the class, Attenborough, 238 F.R.D. at 101 (citing Epifano v. Boardroom
Bus. Prods., Inc., 130 F.R.D. 295, 300 (S.D.N.Y. 1990)).
       Numerous courts also have found that a named plaintiff is an inadequate representative
where there is a close personal relationship between a plaintiff and class counsel. E.g., Drimmer
v. WD-40 Co., No. 07-56841, 2009 WL 2519188, at *1 (9th Cir. Aug. 19, 2009); London v. Wal-
Mart Stores, Inc., 340 F.3d 1246, 1254-55 (11th Cir. 2003); Martz v. PNC Bank, N.A., No. 06-
1075, 2007 WL 2343800, at *5 (W.D. Pa. Aug. 15, 2007) (“When a close personal relationship
exists between the named representative and class counsel, courts fear the danger of champerty.”).
“This is especially true in cases . . . where attorneys’ fees will greatly exceed the class
representative’s recovery.” Martz, 2007 WL 2343800 at *5.
       In this case, there are numerous elements that lead the Court to conclude that Plaintiffs
have not shouldered their burden to prove that they are adequate class representatives. First, as
eluded to earlier, Plaintiffs’ plainly divergent views of the meaning of the contract indicate that
there may even be a conflict as between the putative class representatives with respect to their
respective theories of the case, to say nothing of the absent class. Moreover, there is an apparent
conflict between Spagnola and Bernstein, as holders of an extended replacement cost
homeowners’ policy, and members of the class who may have purchased conditional or verified
replacement cost policies. That is, in an extended replacement cost policy – such as those
purchased by Spagnola and Bernstein – the insurer is obligated to pay the full replacement cost,
even if that cost exceeds the coverage amount under the Policy. Put another way, under the


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extended replacement cost policy, the insurer bears the risk of underinsurance. Under the verified
or conditional replacement cost types of policies, on the other hand, the insurer is obligated to pay
only up to a specified amount, and the policyholder bears the risk of underinsurance. Thus, some
members of the class (extended replacement cost policyholders) may wish for the term “current
costs and values” to be interpreted in a particular way, while other class members (verified or
conditional replacement cost policyholders) may wish for that same term to be interpreted in a
completely different way, depending on what best served their interests. Plaintiffs have produced
no evidence to allay the concerns of the Defendants or this Court that these diverging interests
cause an inimitable conflict with respect to the class representatives, and thus, it being Plaintiffs’
burden of proof, that precludes class certification.
       Moreover, the Court has serious concerns relating to Spagnola’s adequacy as a class
representative due to his constantly changing interpretation of the contract and his abjuration of
the very allegations of his Complaint. As but one example, Spagnola’s Complaint alleges that the
Policy “leads the insured reasonably to believe that changes in amounts at point of renewal will . .
. [be] governed by [CPI],” while he testified at his deposition that he never believed that to be true,
and did not think that it would be reasonable for a policyholder to believe that the coverage
amount varied with CPI, as they are two “different concepts.” Spagnola Dep. at 152:8-22.
Additionally, while the Complaint alleges that changes in coverage were presented to
policyholders on a “take it or leave it” basis, see Spagnola Compl. ¶¶ 84, 85(o), Spagnola testified
that he was told that if he thought his estimated construction cost was too high, could request a
reassessment from the insurance company, see Spagnola Dep. at 104:18-21. These instances,
among others, illustrate that Spagnola may be prone to give inconsistent or incredible testimony in
future proceedings in this case, and this in itself casts serious doubt on his adequacy as class
representative.
       As to Bernstein, there are likewise numerous problems with his representation of the class.
First, Plaintiffs seek to certify a class of individuals or entities who purchased their policies from
2000 to the present, but Bernstein purchased his policies in 1988 and 1999, and thus appears to fall
outside of the very class definition he seeks to certify. Moreover, another nail in Bernstein’s
coffin is his longstanding “close friendship” with his attorney, Roger Kirby. The two have known
each other for almost 40 years, having first met as officemates at a law firm their first year after
law school; they socialize often; they “talk all the time” and visit each other’s vacation homes.
See Bernstein Dep. at 49:22-51:14. Moreover, while Bernstein is not even aware of the amount of


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damages that he seeks in his case, see id. at 65:2-13, it is likely to fall far short of any potential
attorneys’ fees if his claims prove successful. See also Bernstein Compl. ¶ 107 (alleging likely
pro rata damages award to be less than $5,000).24
         For these reasons, the Court finds that neither Spagnola nor Bernstein has proved their
adequacy to serve as class counsel by a preponderance of the evidence. Class certification could
be denied, and Defendants’ motion granted, on that basis alone; however, for the sake of
completeness, the Court will proceed to address the remaining Rule 23 requirements.
         3. Ascertainability
         “Whether a proposed class is ascertainable is fundamental to certification.” Bakalar, 237
F.R.D. at 64 (citation omitted); see also In re MTBE, 209 F.R.D. at 337. Class membership must
be readily identifiable such that a court can determine who is in the class and bound by its ruling
without having to engage in numerous fact-intensive inquiries. Bakalar, 237 F.R.D. at 64. While
class members need not actually be ascertained prior to certification, they must be ascertainable at
some stage of the proceeding. Noble v. 93 Univ. Place Corp., 224 F.R.D. 330, 338 (S.D.N.Y.
2004). “An identifiable class exists if its members can be ascertained by reference to objective
criteria. Where any criterion is subjective, e.g., state of mind, the class is not ascertainable.” In re
MTBE, 209 F.R.D. at 337 (citations omitted).
         Defendants contend that the class definition as proffered by Plaintiffs (i.e., all persons
“who either have been injured by the practices complained of or who are at risk of suffering
injuries by the practices complained of”) would require the Court to engage in a fact-specific
inquiry for each class member to determine whether each suffered an injury, and whether such
injury was caused by the alleged practices. Defendants slice the issue too thin. Here, it seems
clear that the purchasers of the challenged Policies during the class period could be identified by
reference to objective criteria that is, in all likelihood, contained within Defendants’ own records
and computer systems. Accordingly, the implied requirement of ascertainability has been
satisfied.

C.       Rule 23(b)(2) Requirements
         Rule 23(b)(2) provides that an action may be maintained as a class action if, in addition to
the threshold requirements of Rule 23(a), “the party opposing the class has acted or refused to act
on grounds generally applicable to the class, thereby making appropriate final injunctive relief or
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  Indeed, at oral argument on the class certification motion, Plaintiffs all but conceded that the Court need not – and
perhaps should not – certify the Bernstein case as a class action for just these reasons. See Transcript of Oral
Argument, dated December 3, 2009, at 20:22-21:5.

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corresponding declaratory relief with respect to the class as a whole.” Fed. R. Civ. P. 23(b)(2).
Generally, in a case such as this where monetary relief is requested in tandem with injunctive
relief, “the court must determine whether the requested monetary relief predominates over the
claims for equitable relief.” Parker v. Time Warner Entm’t Co., L.P., 331 F.3d 13, 18 (2d Cir.
2003). To determine whether to certify such a class under Rule 23(b)(2), “a district court must
consider the evidence presented at a class certification hearing and the arguments of counsel, and
then assess whether (b)(2) certification is appropriate in light of the relative importance of the
remedies sought, given all of the facts and circumstances of the case.” Robinson v. Metro-North
Commuter R.R., 267 F.3d 147, 167 (2d Cir. 2001). To make this determination, a court “should, at
a minimum, satisfy itself of the following: (1) even in the absence of a possible monetary
recovery, reasonable plaintiffs would bring the suit to obtain the injunctive or declaratory relief
sought; and (2) the injunctive or declaratory relief sought would be both reasonably necessary and
appropriate were the plaintiffs to succeed on the merits.” Id. Rule 23(b)(2) applies only when
class treatment is “clearly called for.” In re MTBE, 209 F.R.D. at 341 (citing Fed. R. Civ. 23(b)(3)
Advisory Committee’s Note).
       Here, Plaintiffs have abandoned their quest for (b)(2) certification. Their opposition to
Defendants’ motion contained virtually no argument whatsoever on this score, and at oral
argument Plaintiffs’ counsel did “not contest[] the Court” in its estimation that Plaintiffs had failed
to bear their burden of proof to justify certification under Rule 23(b)(2). See Transcript of Oral
Argument at 18:20-19:17. In any event, it does not appear that this case is one where “even in the
absence of a possible monetary recovery, reasonable plaintiffs would bring the suit to obtain [the]
injunctive . . . relief sought.” The only injunctive relief Plaintiffs sought here was to prevent the
continued use of the offending terms “current costs and values” in the Policy language; however, it
appears that such language has already been eliminated from the Policy. Accordingly, as the crux
of this case appears to be the recovery of monetary damages, certification under Rule 23(b)(2) is
inappropriate.

D.     Rule 23(b)(3) Requirements
       A class action is maintainable under Rule 23(b)(3) when “the court finds that questions of
law or fact common to the members of the class predominate over any questions affecting only
individual members and that a class action is superior to other available methods for the fair and
efficient adjudication of the controversy.” Fed. R. Civ. P. 23(b)(3). Thus, to be certified as a Rule
23(b)(3) class, Plaintiffs bear the burden to prove two elements: predominance and superiority.

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       1. Predominance
       The predominance requirement is much more stringent than the commonality requirement
under Rule 23(a) and requires that common questions be the focus of the litigation. E.g.,
Steinberg, 224 F.R.D. at 73. That is, the predominance inquiry is used to test whether a class is
“sufficiently cohesive to warrant adjudication by representation.” Amchem Prods. v. Windsor, 521
U.S. 591, 623 (1997). Common questions of law and fact predominate when issues subject to
generalized proof and applicable to the class as a whole predominate over, and are more
substantial than, issues that are subject to individualized proof. See in re Visa
Check/Mastermoney Antitrust Litig., 280 F.3d 124, 136 (2d Cir. 2001), abrogated on other
grounds by, In re IPO, 471 F.3d 24 (2d Cir. 2006). “This requirement is more demanding than the
commonality requirement under Rule 23(a); thus a court must deny certification where individual
issues of fact abound.” In re Currency Conversion Fee Antitrust Litig., 230 F.R.D. at 309; see
also In re MTBE, 209 F.R.D. at 349).
       As Plaintiffs contend, breach of contract claims certainly can be appropriate for class
treatment, but only where they are subject to generalized proof. See McCracken v. Best Buy
Stores, L.P., 248 F.R.D. 162, 168 (S.D.N.Y. 2008). In particular, actions that involve form or
uniform contracts have been recognized as being well-suited for treatment as a class action. See
Steinberg, 224 F.R.D. at 74 (“[C]laims arising from interpretations of a form contract appear to
present the classic case for treatment as a class action . . . .”). However, courts have denied
certification even in cases that involved form contracts where numerous individual inquiries were
required to determine whether a breach of the contract could be found. E.g., Pastor v. State Farm
Mut. Auto. Ins. Co., No. 05 C 1459, 2005 U.S. Dist. LEXIS 22338 (N.D. Ill. Sept. 30, 2005);
Adams v. Kansas City Life Ins. Co., 192 F.R.D. 274 (W.D. Mo. 2000); Sparano v. Southland
Corp., No. 94 C 2098, 1996 U.S. Dist. LEXIS 17485 (N.D. Ill. Nov. 21, 1996). Moreover,
similarly to the commonality/typicality inquiry, numerous courts have found that the
predominance requirement is not satisfied where class claims are subject to a unique defense under
the voluntary payment doctrine. E.g., Gawry v. Countrywide Home Loans, Inc., 640 F. Supp. 2d
942, 957 (N.D. Ohio 2009); Camafel Building Inspections, Inc. v. Bellsouth Advertising & Publ’g
Corp., 06-CV-4501-JEC, 2008 WL 649778, at *11 (N.D. Ga. Mar. 7, 2008); Endres v. Wells
Fargo Bank, No. C 06-7019 PJH, 2008 WL 344204, *11-12 (N.D. Cal. Feb. 6, 2008); Morrissey
v. Nextel Partners, Inc., 880 N.Y.S.2d 874 (N.Y. Sup. Ct. Albany Co. 2009).




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         Here, I agree with Defendants’ position that Plaintiffs’ ultimate burdens of proof in these
actions are not subject to class-wide proof. Rather, proof of class members’ claims would require,
inter alia, analysis of the unique characteristics of each class member’s home, whether each
policyholder’s coverage was actually increased using CPI or some other guideline, the amount of
the increase, whether the policy requested that the increase be waived or revalued, and actual
replacement cost of each policyholder’s home. Compounded with these individual questions is
the lingering concern relating to the potential unique defense of voluntary payment, among others.
Ultimately, the Court or the jury will be tasked with the determination, for each individual class
member, whether they knew or should have known of the circumstances surrounding the increases
in their respective coverages but continued to pay, or whether such payment was the result of a
mistake of fact or law relating to their obligation to pay.25 See Spagnola, 574 F.3d at 72. Thus,
while Plaintiffs were successful in overcoming the comparatively lower hurdle of commonality
and typicality under Rule 23(a), they have failed to prove the “more demanding” requirement of
predominance of common issues under Rule 23(b)(3), and class certification must be denied on
that ground as well.
         2. Superiority
         To determine whether a class action is superior to other methods of adjudication, a court
may look to the following factors: (1) the interest of the class members in individually controlling
the prosecution or defense of separate actions; (2) the extent and nature of any litigation already
commenced by or against class members; (3) the desirability of concentrating the litigation of the
claims in a particular forum; and (4) difficulties likely to be encountered in the management of a
class action. See Fed. R. Civ. P. 23(b)(3). In particular, courts have found that class treatment is
appropriate in “negative value cases,” where the individual interest of each class member’s interest
in the litigation is less than the cost to maintain an individual action. See, e.g., Noble, 224 F.R.D.
at 346; In re MTBE, 209 F.R.D. at 350 (citation omitted). However, “[t]he greater the number of
individual issues, the less likely that superiority can be established.” Cohn v. Massachusetts Mut.

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   In opposition to Defendants’ motion, Plaintiffs rely in large measure on Dupler v. Costco Wholesale Corp., 249
F.R.D. 29 (E.D.N.Y. 2008), in which the district court certified a class action notwithstanding the availability of an
individual defense against the class representative under the voluntary payment doctrine. See id. at 38-39. However,
Dupler is easily distinguishable and is limited to its own unique facts. There, the plaintiff denied the defendant’s
contention that she knew at the time she renewed her membership that defendant would apply its backdating policy to
her membership, and thus the applicability of the voluntary payment defense was in dispute. Here, by contrast,
Plaintiffs have not denied that the voluntary payment doctrine will become an issue, but rather argue that it will be an
issue that is common to the class as a whole. This justification is simply too weak to overcome the clearly numerous
individual issues that are likely to become the focus of this litigation, and the weight of the authority counsels that the
Court find a lack of predominance based, in part, on the availability of the voluntary payment defense.

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